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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

CASE NO.: 1:22-cv-02297-SKC

ACCESS 4 ALL INCORPORATED
and CARLOS CUESTA,

      Plaintiffs,

v.

T2 VENTURES, LLC D/B/A WILMORE
SHOPPING CENTER and YOUNG AND YOUNG
ENTERPRISES, INC. D/B/A SUBWAY #53401,

      Defendants.


              PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO
            PERFECT SERVICE ON DEFENDANT YOUNG AND YOUNG
                 ENTERPRISES, INC. D/B/A SUBWAY #53401


      Plaintiffs, ACCESS 4 ALL INCORPORATED and CARLOS CUESTA, (hereinafter

“Plaintiffs”) by and through undersigned counsel hereby file this motion for extension of

time to perfect service as to Defendant, YOUNG AND YOUNG ENTERPRISES, INC.

D/B/A SUBWAY #53401, and in support states as follows:

      1.      Plaintiffs filed their Complaint on September 7, 2022 [D.E. 1].

      2.      On October 20, 2022, Plaintiffs filed a summons returned executed as to

Defendant, T2 VENTURES, LLC D/B/A WILMORE SHOPPING CENTER [D.E. 4].

      3.      Plaintiffs have yet to perfect service on Defendant, YOUNG AND YOUNG

ENTERPRISES, INC. D/B/A SUBWAY #53401, and as such Defendant has not yet made
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an appearance. Plaintiffs’ counsel has been in contact with process server for status on

perfecting service and has requested a skip trace.

      4.     The server attempted service as to Defendant YOUNG AND YOUNG

ENTERPRISES, INC. D/B/A SUBWAY #53401, on October 10, 2022, October 17, 2022,

October 24, 2022, October 30, 2022, November 10, 2022, and November 22,2022 and

on the last attempt they learned Defendant has moved. Plaintiffs requested skip trace

services.

      5.     The ninety (90) day service deadline for Defendants is December 6, 2022.

      6.     Accordingly, Plaintiffs are seeking an extension of time to find a new

address as to Defendant, YOUNG AND YOUNG ENTERPRISES, INC. D/B/A SUBWAY

#53401 and perfect service.

      7.     Plaintiffs are seeking an extension of time of thirty (30) days to perfect

service as to Defendant, YOUNG AND YOUNG ENTERPRISES, INC. D/B/A SUBWAY

#53401.

      8.     This motion is sought in good faith and not for purposes of undue delay.

      9.     Additionally, per D.C.COLO.LCivR 7.1, Plaintiffs’ counsel has conferred

with Defendant’s, T2 VENTURES, LLC D/B/A WILMORE SHOPPING CENTER, counsel

and counsel confirmed Defendant does not oppose the relief sought herein.

      10.    This motion is being served concurrently on Plaintiffs pursuant to

D.C.COLO.LCivR 6.1.

              SUPPORTING MEMORANDUM OF LEGAL AUTHORITY
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       “A district court retains the inherent authority to manage its own docket,” which will

be reviewed only for an abuse of discretion. See, e.g., Wilson v. Farley, 203 Fed.Appx.

239, 250 (11th Cir. 2006) (citing Four Seasons Hotels and Resorts, B.V. v. Consorcio

Barr S.A., 377 F.3d 1164, 1172 n. 7 (11th Cir.2004)). The decision whether to amend the

Order is subject to the Court’s “inherent authority [and discretion] to manage its own

docket ‘so as to achieve the orderly and expeditious disposition of cases.’” Equity Lifestyle

Prop., Inc. v. Fla. Mowing And Landscape Serv., Inc., 556 F.3d 1232, 1240 (11th Cir.

2009) (citing Chambers v. NASCO, Inc., 501 U.S. 32, 43, 111 S.Ct. 2123, 2132, 115

L.Ed.2d 27 (1991)).

       Plaintiffs filed their Complaint on September 7, 2022 [D.E. 1]. On October 20, 2022,

Plaintiffs filed a summons returned executed as to Defendant, T2 VENTURES, LLC D/B/A

WILMORE SHOPPING CENTER [D.E. 4]. Plaintiffs have yet to perfect service on

Defendant, YOUNG AND YOUNG ENTERPRISES, INC. D/B/A SUBWAY #53401, and

as such Defendant has not yet made an appearance. Plaintiffs’ counsel has been in

contact with process server for status on perfecting service and has requested a skip

trace. The server attempted service as to Defendant YOUNG AND YOUNG

ENTERPRISES, INC. D/B/A SUBWAY #53401, on October 10, 2022, October 17, 2022,

October 24, 2022, October 30, 2022, November 10, 2022, and November 22,2022 and

on the last attempt they learned Defendant has moved. Plaintiffs requested skip trace

services. The ninety (90) day service deadline for Defendants is December 6, 2022.

Accordingly, Plaintiffs are seeking an extension of time to find a new address as to

Defendant, YOUNG AND YOUNG ENTERPRISES, INC. D/B/A SUBWAY #53401 and
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perfect service. Plaintiffs are seeking an extension of time of thirty (30) days to perfect

service as to Defendant, YOUNG AND YOUNG ENTERPRISES, INC. D/B/A SUBWAY

#53401. This motion is sought in good faith and not for purposes of undue delay.

Additionally, per D.C.COLO.LCivR 7.1, Plaintiffs’ counsel has conferred with Defendant’s,

T2 VENTURES, LLC D/B/A WILMORE SHOPPING CENTER, counsel and counsel

confirmed Defendant does not oppose the relief sought herein. This motion is being

served concurrently on Plaintiffs pursuant to D.C.COLO.LCivR 6.1.

      WHEREFORE, Plaintiffs ACCESS 4 ALL INCORPORATED and CARLOS

CUESTA, respectfully requests an extension of time to perfect service as to Defendant,

YOUNG AND YOUNG ENTERPRISES, INC. D/B/A SUBWAY #53401, and for such other

relief as may be necessary and just.

DATED: December 6, 2022

                                         Respectfully submitted,

                                         GARCIA-MENOCAL, & PEREZ, P.L.
                                         Attorneys for Plaintiffs
                                         1600 Broadway
                                         Denver, CO 80202
                                         Telephone: (303) 386-7100
                                         Primary E-Mail: ajperez@lawgmp.com
                                         Secondary E-Mail: dperaza@lawgmp.com;
                                         dramos@lawgmp.com

                                         By: _Anthony J. Perez________
                                             ANTHONY J. PEREZ


                              CERTIFICATE OF SERVICE
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       I HEREBY CERTIFY that on December 6, 2022, I electronically filed a true and

correct copy of the forgoing with the Clerk of Court using the CM/ECF system which will

serve notice of the electronic filing upon all parties of record.

                                           Respectfully submitted,

                                           GARCIA-MENOCAL, & PEREZ, P.L.
                                           Attorneys for Plaintiffs
                                           1600 Broadway
                                           Denver, CO 80202
                                           Telephone: (303) 386-7100
                                           Primary E-Mail: ajperez@lawgmp.com
                                           Secondary E-Mail: dperaza@lawgmp.com;
                                           dramos@lawgmp.com

                                           By: __Anthony J. Perez________
                                                 ANTHONY J. PEREZ
